  Case 23-00107      Doc 45   Filed 06/16/23 Entered 06/16/23 15:47:14               Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                     )               BK No.:      23-00107
Paula Gallagher                            )
                                           )               Chapter: 13
                                           )
                                                           Honorable Janet S. Baer
                                           )
                                           )
              Debtor(s)                    )

                                      Order Confirming Plan

       The plan under Chapter 13 of the Bankruptcy code, filed as docket No. 41, having been found
by the Court to comply with the provisions of the 11 U.S.C. section 1325, THE PLAN IS HEREBY
CONFIRMED.




                                                        Enter:


                                                                 Honorable Janet S. Baer
Dated: June 16, 2023                                             United States Bankruptcy Judge
